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                 Exhibit C
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GR
June9,2017
             SOLUTIONS
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                                                                     j
Ricardo Mazzitelli                                                                 :001
6770 Indian Creek Drive, Apt 1OF
Miani Beach, FL 33141

                          Re: Master Independent Contractor Agreement

Dear Ricardo.

This letter serves as the Shared Professional Services Master Agreement (“Master Agreemenr)
between Ricardo Mazzitelli (“you”. “contractor” or “consultuni’) and GRC Solutions LLC (“GRC”
or “the Firm”) for our mutual benefit. it proposes the following terms and conditions outlining our
relationship going fonvard, and will become effective on July,flh 2017. or another mutually agreed
                                                              /
date:
                                                                     3
Duties
         You vill be engaged by GRE to perform consulting services on an “as needed” basis as an
         independent contractor; that is, your services will be contracted for specific work not as an
         employee, partner, agent of. orjoint venture with the Firm for any purpose. You shall not be
         entitled to any benefits accorded to GRC’s employees. You will be responsible for your own
         workers’ compensation, disability benefits and unemployment insurance and for withholding
         or paying all employment-related taxes for any all compensation paid to you.
   •     Duties and services may be amended in writing from time to time, and additional services
         may be presented or supplemented with subsequent estimates for services to be rendered by
         you and agreed to by the Firm, via an addendum to this Master Agreement.
   •     You will be given advance notice ofa specific project which is to begin, the expected duration
         of said lwoject, the nature of the work, your specific role in the project, and the rate of pay for
         said project. This information will be communicated in writing in an addendum to this master
         Agreement.
   •     This Agreement is not intended to guarantee any minimum number of projects or billable
         hours. Our mutual commitment is limited to these periodic engagements only.
   •     You will present yourself to GRC clients (“Client”) as having been contracted by CRC to
         perform the specific sen’ices delineated herein and any addendums.
   •      You hereby agree to indemnify and hold GRC harmless from any claims, losses, costs, fees.
          liabilities, damages or injuries suffered by GRC arising out of your failure or negligence with
          respect to your obligations hereunder.
Compensation
   •     For each hour you provide services hereunder, you shall be paid at a professional hourly rate
         as agreed upon per assignment pursuant to the addendum. It is expected that your hours will
         vary based upon the assigned project, but in most instances should not exceed forty (40) hours
         per week.
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June 2017



       You will have the opportunity to decline any assigned project; however, GRC is tinder no
       obligation to provide alternative work to you. You will provide as much notice as possible of
       any periods during which you are not available for work so that it can he rescheduled.
       We will invoice our Client for services performed and in turn you will invoice us directly for
       services performed on behallofGRC. Such invoices may be payable semi-monthly but no
       later than 30 days from receipt of them. In addition, and as a condition of payment, you will
       complete and provide us with GRC tirnesheets (through our portal) on a weekly basis for each
       project on which you are engaged.
    • You shaLl he paid iii accordance with GRC’s standard payment schedule and only if payment
       is actually made by the Client to GRC for the services you perform. In addition, GRC may
       withhold payment to you if the Client or project leader (i) refuses to sign your GRC
       Timesheets; or (ii) refuses to pay GRC because your performance is deemed unsatisfactory.
    • The Fin, shall not be responsible lbr withholding taxes with respect to your compensation,
       as you remain responsible for making all required tax payments. You hereby agree that GRC
        shall not be required to pay or reimburse you for any taxes incurred as a result of the
        transactions contemplated hereby. You further agree to indemnify and hold GRC harmless
        from any claims of tax liability claims that may arise from or relate to this Agreement from
        any Federal, State or local government agency for failure to withhold any taxes or pay any
        type of payroll taxes, unemployment insurance or worker’s compensation and other similar
        liabilities, whether or not required to be withheld from amounts paid to you. and you shall be
        responsible to pay and satisfy any and all such claims orjudgments related to such liabilities.
     • You shall have the responsibility for payment of workers’ compensation. disability benefits
        and unemployment insurance and for withholding or paying all employment-related taxes for
        any all compensation paid to you.
     • You will have no claim against the Firm for vacation pay, sick leave, retirement benefits,
         social security, worker’s compensation. health or disability benefits, unemployment insurance
         benefits, or employee benefits of any kind.
 Term of Agreement
     •     This engagement shall commence upon execution of this Master Agreement and shall
           continue in full force and effect until such time as terminated by either party in accordance
           with this Master Agreement.
     •     Engagement under this agreement is subject to verification of the employment and reference
           information you have provided via a background check.
  General Terms of Service
     •     You will accept responsibility in meeting the Client’s project schedule within agreed upon
           budgeted hours. Such budgeted hours shall be discussed and approved prior to the
           commencement of any work. You will advise us promptly if circumstances develop that
           require you to extend the work beyond the budgeted hours.
     •     You will be responsible for compLeting the agreed upon work procedures, consistent with
           existing methodologies and formats as required by the Client.
      •    Upon completion, all work performed including any modifications shall be submitted for
           review and approval to the project leader, who will then be responsible for submitting work
           to the Client.



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June 2017



 Confidentialih’
   •    You understand that any and all confidential and proprietary information accessed or made
        available to you during the performance of your work are the property of the Finn, and will
        remain so even beyond the term of this Agreement. Confidential and Proprietary Information
        is defined as any information received from the Firm or the Firm’s Clients or Affiliates which
        is confidential or proprietary or which may constitute trade secrets of the Firm and which I)
        has not been disclosed publicly by the Firm, 2) is olhenvise not a matter of public knowledge.
        or 3) is a matter of public knowledge but which you have reason to know became a matter of
        public knowledge through an unauthorized disclosure.                 Proprietary or confidential
        information    shall include information  which  has been  developed   or used by the Firm and is
        unique to the Firm. the unauthorized disclosure of which        would   reduce the value of such
        information to the Firm. This includes any inrormation which relates to GRC’s business,
        products, processes, services, or trade secrets. including, but not limited to, information
        related to concepts. ideas, financial, accounting, computer programs, techniques, proposals,
        business plans, products tinder development, the Firm’s Client lists and any confidential
        information about (or provided by) any Client or prospective or former Client of the Firm,
        and any written material referring or relating to legal or regulatory matters, It also includes
        any information related to Client business, including, but not limited to, project requirements,
        forecasts, marketing. selling, audit and analysis results and the documentation thereol and all
        data and information relating to our client’s customers provided to GRE’ in the performance
        of serviccs. It is understood that none of your own proprietary files, records, documents or
        other materials shall constitute confidential information.
    •   You agree to hold any Confidential Information in strict confidence and will exercise a
        reasonable degree of care to prevent disclosure, either direct or indirect, to any third party,
        including, without limitation, GRC Affiliates, Subcontractors. Consultants, Clients. Clients’
        customers, or Competitors without the Firm’s prior written consent,
    •   Any and all inventions, discoveries, developments, processes, methodologies and innovations
        conceived by you during this engagement relative to the duties under this Agreement shall be
        the exclusive property of the Finn; and you hereby assign all right, title, and interest in the
         same to thc Firm.         Any and all inventions, discoveries, developments, processes,
        methodologies and innovations conceived by you prior to the term of this Agreement and
         utilized in rendering duties to the Firm arc hcreby licensed to the Firm for use in its operations.
  Conflicts of Interest; Non-Hire
    •    You represent that you are free to enter into this Agreement, and that this engagement does
         not violate the terms of any Agreement between yourself and any third party.
    •    During the term of this Agreement, you shall devote as much of your contracted time, energy
         and abilities to the performance of duties hereunder as is necessary to pertbrm the required
         duties in a timely and productive manner. Notwithstanding the foregoing, you may, to the
         extent consistent with this Master Agreement, provide services to others and through any other
         person or entity during those times you are not performing work under this Master Agreement.
    •    Further, in performance of services, you will not utilize any invention, discovery,
         development, improvement. innovation, or trade secret in which you do not have a proprietary
         interest.




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June 2017



Other
      Either party may terminate this Agreement with 30 days written nOtice. However, GRC may
      terminate this Master Agreement or any addendum thereto immediately, without notice. (i)
      for cause. (ii) upon a breach of any provision of the Master Agreement, (iii) if the client
      requests your removal. (iv) upon completion of services. (v) upon termination of any
      addendum, or (vi) upon the depletion of the fluids provided by the client to pay for the services
      rendered hereunder.
    • ft is understood that all Clients either serviced directly by you or referred by you on behalfof
      the Firm will be considered CLients of the Firm and subject to all the clauses contained in this
      Agreement.
    • This letter is not intended to cover all aspects of this arrangement. Should a circumstance
       arise which is not covered in this document, GRC resen’es the right to address it separately.
    • This Atreement shall be construed, interpreted, and enforced in accordance with the laws of the
       State of New Jersey.

 We look forward to building a strong working relationship with you.

 Very truly “ours.



 Theodore Kawoczka
 Managing Director. GRC Solutions


 To:       GRC Solutions

 The foregoing letter describes and constitutes the Master Independent Contractor Agreement
 between GRC and Ricardo Mazzitelli and is accepted.



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